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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------ x
CELY CASTILLO,                       :
                                              :
                           Plaintiff,
                                              :
                                              :      Case No.: 20-CV-4337 (NGG) (PK)
                      v.
                                              :
PLAZA MOTORS OF BROOKLYN, INC.,               :
JOHN ROSATTI, Individually, ADAM              :
ROSATTI, Individually, and LUIS SIMEOLI,
                                              :
Individually,
                                              :
                           Defendants.        :
                                              :
------------------------------------ x



              PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
         DEFENDANTS’ MOTION TO DISMISS AND COMPEL ARBITRATION

        Plaintiff CELY CASTILLO (hereinafter, “Plaintiff” or “Ms. Castillo”) submits this

 Memorandum of Law in Opposition to the Motion to Dismiss Claims and Compel Arbitration

 (“Motion to Compel”), served on January 8, 2021, by Defendants PLAZA MOTORS OF

 BROOKLYN, INC., JOHN ROSATTI, ADAM ROSATTI, and LUIS SIMEOLI (hereinafter

 collectively, Defendants”).


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Date of Service: February 8, 2021
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                                     PRELIMINARY STATEMENT

            This action was brought by Ms. Castillo, an experienced Lease Return Manager formerly

     employed by Defendants. Ms. Castillo has been the victim of a continuous campaign of

     egregious and wrongful sexual harassment that was not only permitted but perpetuated by

     Defendants, Plaza Motors of Brooklyn, Inc. (“Plaza”), one of the largest automobile dealerships

     in New York along with its agents and employees, including Defendants John Rosatti (“John”),

     Adam Rosatti (“Adam”), and Luis Simeoli (“Simeoli”). (See Complaint; ¶ 9-12). For over forty

     years, Plaza has offered New Yorkers a wide selection of quality new and used vehicles, “hassle-

     free” automotive services, and an integral business promise: “We’re dedicated to building your

     trust when you visit us, we want every customer who walks through our doors to be treated with

     professional courtesy and honesty.”1 Unfortunately, however, Plaza’s “promises” stop with their

     customers.

            With their motion, Defendants seek to compel the private arbitration of Ms. Castillo’s

     discrimination, sexual harassment, and retaliation claims brought under Title VII, the New York

     State Human Rights Law (“NYSHRL”), and the New York City Human Rights Law

     (“NYCHRL”). However, in support of their motion, Defendants rely on a purported “Arbitration

     Agreement” that is riddled with inconsistent dates, unfamiliar signatures, and misstatements of

     the laws of Arbitration and the facts of Ms. Castillo’s employment. (See Exhibit 5.)

            For the reason set forth below, Defendants’ motion to dismiss Plaintiff’s claims and

     compel arbitration must be denied.

            First, it is our position that Ms. Castillo never entered into an Arbitration Agreement



 1
  Plaza Auto Mall, About Us, Plaza Auto Mall, WWW.PLAZAAUTOMALL.COM,
 https://www.plazaautomall.com/about/, (last visited Feb. 3, 2021, 12:04 PM).


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  with the Defendants. The authenticity of Ms. Castillo’s signature on the “Agreement” document

  is vigorously disputed by Ms. Castillo. For its part, Defendants have not identified when this

  Agreement was signed or where this document has been kept since its signing. Further,

  Defendants have made no efforts to provide the purported original document for analysis or

  review, nor have they even stated whether an original exists. Although Plaza’s Human

  Resources (“HR”) Manager, Vera Nuhi (“Nuhi”), swore under oath in her Declaration that

  Plaintiff signed this purported Agreement on December 31, 2019, Nuhi does not give any

  indication as to how she knows that Ms. Castillo signed the document on December 31, 2019 –

  a day in which neither Nuhi, nor Defendant, Adam Rosatti (“Adam”), who allegedly gave

  Plaintiff this document, was scheduled to work at Plaza! Moreover, when Ms. Castillo’s

  purported Agreement is compared to the six (6) other employee’s legitimate arbitration

  agreements that Defendants provided with their motion papers, Ms. Castillo’s Agreement is the

  clear anomaly. The document purporting to be Ms. Castillo’s “Arbitration Agreement” is the

  only Agreement of the seven (7) appearing to have been physically signed with an ink pen rather

  than through DocuSign, and the only Agreement that was not signed by Plaza General Manager

  and Defendant, Adam.

         Given all these issues of fact, Ms. Castillo should, at the very least, be entitled to initial

  discovery on the issue of authenticity and an opportunity to have the document reviewed by a

  handwriting expert.

         Second, the Arbitration Agreement further fails because it is highly and irredeemably

  unconscionable, both procedurally and substantively.

         Although the circumstances surrounding the creation and effectuation of this Agreement

  are murky at best, the facts we do have point to one obvious truth: the Arbitration Agreement

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  at hand is voidable due to the wholly unconscionable and unfair procedures Defendants

  deployed in their execution of this Agreement. (See Exhibit 5.) Defendants’ have a routine

  practice of forcing these Arbitration Agreements upon their employees as a condition to

  receiving a new pay plan, which means every agreement cited by Defendants in their motion

  papers was produced under economic duress, making it voidable as procedurally

  unconscionable. (Nuhi Decl. ¶ 4).

         Moreover, for Plaintiff’s Agreement in particular, the procedural unconscionability goes

  beyond just economic duress; here, there was a fraud, if not an actual forgery, in how the

  document was created and put into effect. Even setting aside, for a moment, the disputes

  regarding Ms. Castillo’s signatures contained in this Agreement, the document is also made

  fraudulent by the scratched out “Effective Date” at the top of the Agreement, and conspicuously

  missing signature of the administrator of the Agreement, Defendant Adam. Further, as Plaintiff

  indicated in her Affidavit, upon being assigned her “new pay plan” on December 9, 2019,

  Plaintiff explicitly requested that Defendants provide her with a copy of the pay plan documents

  for her to review – however, Defendants never, at any point, provided her with these documents,

  in violation of both the contract law doctrine of good faith and fair dealings, as well as the text

  of the purported Arbitration Agreement itself, which directly states that Ms. Castillo retained

  the right to “consult with a person of [her] choosing” before signing the document. (Exhibit 5,

  P 3, ¶ 7). Thus, the enforcement of such an inappropriately and unconscionably produced

  Agreement would violate both public policy and Plaintiff’s statutory rights in this matter.

         Additionally, the purported Arbitration Agreement Defendants have brought the court is

  inundated with multiple unconscionable, unfair, unenforceable, oppressive, over-reaching, and

  one-sided provisions and statements that have the effect of rendering the entirety of the



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  Agreement as unenforceable. Especially in light of the sexual harassment Ms. Castillo has

  endured and complained of to Defendants, it is clear that the unconscionable provisions of the

  Agreement were included for one wholly unlawful reason: to deprive Ms. Castillo of her

  statutory rights and deter her from exercising and vindicating those rights for her

  protection.

         The Arbitration Agreement explicitly shortens the statute of limitations to assert a claim

  before an arbitrator to a mere six (6) months from the date of “the event that resulted in the

  loss, injury, damage, or liability.” This time frame has already expired for every event in this

  case that occurred at any point before August 2020; meaning, the time frame has expired for

  every event herein complained of. It is unmistakable that by seeking to compel arbitration,

  Defendants are actively seeking to annihilate all of Plaintiff’s claims and avenues for relief.

  And if Defendants’ motion to compel arbitration were granted, Ms. Castillo would lose her right

  to assert her statutory claims in any forum, despite her perfect adherence to all statutory

  limitation periods proscribed by Title VII, the NYSHRL, and the NYCHRL. Such an effect

  makes this provision plainly and substantively unconscionable, as it deprives Plaintiff of her

  statutory rights to even assert her claims.

         Additionally, the Arbitration Agreement proffered by the Defendants lacks a crucial

  component: mutuality. In the third paragraph, the Agreement purports to “explicitly exclude

  the requirement to arbitrate any claims by the Employer for injunctive relief,” Exhibit 5

  (emphasis added). This provision unfairly grants Defendants the right to go to court, a

  privilege that arbitration agreements are meant to deny both parties. Moreover, because

  injunctions are the most common actions brought by employers anyway, this exception

  effectively leaves Plaintiff with no options while Defendants are still left with an unduly



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  favorable one. Again, this provision strips Ms. Castillo’s statutory rights and unconscionably

  limits her avenues for any sort of recovery.

         Thus, the Arbitration Agreement at hand is so severely riddled with defects, from

  inception to implementation, that its enforcement would contravene every public policy and

  legal doctrine aimed to preserve, protect, and defend all the legal rights of an employee in the

  workplace. Accordingly, Plaintiff respectfully requests that this Court allow the current action

  to move forward before this Court. Only then will Ms. Castillo can fairly vindicate her claims.

                                    STATEMENT OF FACTS

         Beginning as early as 2013, not long after Plaintiff was initially hired by Defendants,

  Plaintiff began being targeted, singled out, and sexually harassed by Defendant Simeoli. (See

  Castillo Aff. ¶ 4.) For years, Simeoli bombarded Plaintiff with an egregious and discriminatory

  scheme of sexual harassment – although throughout the majority of Plaintiff’s employment,

  Simeoli had a significant other who was not Plaintiff and Plaintiff had a significant other who

  was not Simeoli. (See Castillo Aff. ¶ 9.) Despite this, Simeoli had no qualms with sexually

  harassing Plaintiff, and Defendants had no qualms about intentionally ignoring Simeoli’s

  behavior. (See Castillo Aff.. ¶ 14-5, 26-7).

         Contrary to Defendants’ allegations in their motion papers, Plaintiff did, in fact, finally

  first report Simeoli’s harassment to her superior in HR, Nuhi, on August 1, 2019. (See Castillo

  Aff. ¶ 13). This meeting was attended by two other witnesses besides Ms. Castillo and Nuhi –

  Plaza Executive Assistant, Cathy DeGeorgio (“DeGeorgio”), as well as Plaintiff’s coworker and

  Simeoli’s girlfriend, Soraya Janer (“Janer”). (See Castillo Aff. ¶ 14). Yet, despite all the

  witnesses present at that meeting, and despite the seriousness of the allegations Ms. Castillo was

  reporting therein, Nuhi, DeGeorgio, and Janer brushed Plaintiff off, directing here instead to



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   “Just cut communication with [Simeoli],” and “Stay away from him.” (Castillo Aff. ¶ 15).

        Thereafter, months passed, and finally, on December 9, 2019, Ms. Castillo was able to

  meet with Defendant Adam. Plaintiff took this opportunity to again report Simeoli’s egregious

  sexual harassment. (See Castillo Aff. ¶ 25). Unfortunately, however, like Nuhi, DeGeorgio, and

  Janer, Adam did not seem to care about Ms. Castillo’s complaints, and instead, Adam callously

  informed Ms. Castillo he would “solve the problem” by moving her desk to sit directly in front

  of Simeoli’s girlfriend, Janer, so that Ms. Castillo could be “watched” by Janer. (Castillo Aff.

  ¶ 26). Ms. Castillo attempted to suggest different responses for Adam to take in response to

  Simeoli’s harassment, but Adam was not listening; talking over Plaintiff, Adam quickly shifted

  the conversation to a discussion about changing Ms. Castillo’s pay structure. (See Castillo Aff.

  ¶ 27-8). Adam then informed Ms. Castillo that her pay plan was being modified to give her “the

  opportunity to make more in commissions,” though the plan tangibly lowered the salary and

  flat fees Ms. Castillo used to earn for certain sales. (Castillo Aff. ¶ 28-9). After finally agreeing

  to accept the downgrade and signing the documents, Ms. Castillo requested that Adam provide

  her with a copy of the modified pay plan, and Adam agreed. (Castillo Aff. ¶ 30).

        However, Adam never provided Ms. Castillo with a copy of this modified pay plan –if

  he had, Plaintiff would gladly produce the same for the Court here and now so that the Court

  could review for itself that the documents Plaintiff actually signed on December 9, 2019 were

  nothing like the purported pay plan and “Arbitration Agreement” Defendants have

  deceptively produced and conveyed to the court with their motion papers. (See Exhibit 5;

  see also Castillo Aff. ¶ 19.)

        It is Plaintiff’s firm position that the three-page document Defendants produced is a

  complete and total forgery, crafted by Defendants in bad faith.




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                                    STANDARD OF REVIEW

        When faced with a motion to compel arbitration under the Federal Arbitration Act, 9

  U.S.C. § 4, courts apply the standard for a motion for summary judgment, meaning the Court’s

  inquiry is whether there is a “genuine issue as to any material fact” that warrants a jury trial.

  Fed. R. Civ. P. 56(c); see also, Bensadoun v. Jobe-Riat, 316 F.3d 171, 175 (2d Cir. 2003). In

  determining if a material fact exists, the Court must “consider all relevant, admissible evidence

  submitted by the parties and contained in pleadings, depositions, answers to interrogatories, and

  admissions on file, together with ... affidavits,” and must construe all facts and inferences in the

  light most favorable to the non-moving party, which, here, is Plaintiff. Nicosia v. Amazon.com,

  Inc., 2017 U.S. Dist. LEXIS 133701, at *14 (E.D.N.Y. Aug. 18, 2017) (citing Chambers v. Time

  Warner, Inc., 282 F.3d 147, 155 (2d Cir. 2002)); see also, Anderson v Liberty Lobby, Inc., 477

  U.S. 242, 106 S.Ct. 2505 (1986) (“The evidence of the non-moving party is to be believed and

  all reasonable inferences are to be drawn in [her] favor.”)

        In determining whether to compel arbitration in any case, the Court must first consider a

  pivotal threshold question: Did the parties agree to arbitrate? See Genesco, Inc. v. T. Kakiuchi

  & Co., 815 F.2d 840, 844 (2d Cir.1987); Wright v. SFX Entm't Inc., No. 00 Civ. 5354, 2001 WL

  103433, at *2 (S.D.N.Y. Feb 7, 2001). If a genuine issue of material fact is raised as to the

  existence of the agreement to arbitrate, a motion to compel arbitration must be denied, and the

  parties should be afforded discovery and a hearing before a fact-finder. See Nicosia, 2017

  U.S.Dist. LEXIS 133701, at *5 (E.D.N.Y. Aug 18, 2017) (Denying a motion to compel

  arbitration and ordering arbitration-related discovery to decide whether the parties formed an

  agreement to arbitrate); see also, Schnabel v. Trilegiant Corp., 697 F.3d 110, 118 (2d Cir. 2012).

        Here, due to the multiple issues of material fact regarding the Arbitration Agreement’s




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  authenticity and a slew of other defects in the Agreement that render it voidable, Defendant’s

  Motion should be denied.

                                           ARGUMENTS

   I. THE AUTHENTICITY OF THE ARBITRATION AGREEMENT PRODUCED BY
     DEFENDANTS REMAINS DISPUTED, AND MS. CASTILLO IS ENTITLED TO
                   LIMITED DISCOVERY ON THIS ISSUE

        Ms. Castillo never entered into an agreement to arbitrate with Defendants. (Castillo Aff. ¶

 20). The Arbitration Agreement document which Defendants rely on is insufficiently authenticated

 to warrant enforcement without limited discovery as to the genuineness of the document, which is

 vigorously disputed by both Plaintiff and the overwhelming weight of the evidence.

        First, Nuhi makes no indication of where Ms. Castillo’s “Agreement” was kept, stored,

 and/or saved, when it was preserved in such a way, and who was responsible for ensuring that it

 was saved. (See generally, Nuhi Decl.) Additionally, Nuhi fails to state whether she witnessed Ms.

 Castillo or Adam signing any of the pages of the document, or if there were any witnesses besides

 these two at all. See id. Moreover, Nuhi does not in any way indicate how she could possibly know

 whether the documents contain genuine signatures of Adam or Plaintiff, and does not even state

 whether the document Defendants produced with their motion papers even purports to contain an

 original signature, or if it is itself merely a copy of another original document. See id. In short, in

 no way is Nuhi's Declaration remotely sufficient to establish the authenticity of Ms. Castillo's

 purported signature on the document. Id.

        Ms. Castillo, for her part, explicitly states that she does not believe that the document

 contains her genuine signature. (See Castillo Aff. ¶ 20). Ms. Castillo states that although she does

 recall signing certain other documents placed before her, she has no recollection whatsoever of

 reviewing or even seeing this purported “Arbitration Agreement” that Defendants have produced.




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  (See Castillo Aff. ¶ 19-21). Ms. Castillo also states that she does not believe the document to be

 authentic because the faded, loopy signatures found on the Agreement do not look remotely like

 her handwriting. (See Castillo Aff. ¶ 20; see also, Exhibit 5.)

        Furthermore, the document is suspect on its face. There are pen scratches at the top of the

 first page, allegedly made by Defendant Adam, and a new effective date is written beside the

 scratches: December 9, 2019, which is actually the day Ms. Castillo and Adam truly met to discuss

 her pay. (See Castillo Aff. ¶ 22; see also Exhibit 5.). However, the date that Ms. Castillo

 supposedly wrote when she signed her name on the last page of the document differed by more

 than three weeks: the page notes December 31, 2019, which makes no sense because not only did

 Plaintiff’s pay plan meeting happen on December 9, 2019, but also, on December 31, 2019,

 neither Adam nor Nuhi were even scheduled to work at Plaza! See id. The Agreement is the

 clear outlier of the seven (7) total Defendants provided; it is the only Agreement signed on a

 physical piece of paper with an ink pen, rather than electronically signed, the only Agreement

 that has been “executed” without Plaza’s GM, Adam, signing it, and the only one to have been

 kept from the employee after signing – in fact, Defendants have still never sent this Agreement

 to Plaintiff in any form. (See Castillo Aff. ¶ 23-4).

        Drawing all reasonable inferences in Plaintiff's favor, such evidence would permit a

 reasonable factfinder to disregard the shoddy “Arbitration Agreement” offered by Defendant —

 including the first two “pay plan” pages Plaintiff had never before seen before — and find that

 Plaintiff did not sign the Agreement, which would mean that she is not obligated to arbitrate

 because she never agreed to arbitrate. See, e.g., Opals on Ice Lingerie v. Bodylines Inc., 320 F.3d

 362, 370 (2d Cir. 2003) (ruling that a party was not obligated to arbitrate because the individual's

 signature on the arbitration agreement was forged and, under New York law, “a forged signature




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  renders a contract void ab initio”).

         Given the state of this record, Ms. Castillo simply cannot be compelled to arbitrate her

 statutory claims without first being given the opportunity to (1) review the original “Arbitration

 Agreement,” presuming it does in fact exist, (2) send either the original or certified copy to a

 handwriting expert to be reviewed and analyzed, and (3) conduct such additional limited discovery

 as is necessary to determine the genuineness of the document submitted by Defendants. See

 Cavendish Traders, Ltd. v. Nice Skate Shoes, Ltd., 117 F.Supp.2d 394 (S.D.N.Y., 2000) (holding

 an issue as to the validity of the signature on a guarantee agreement precluded summary judgment.)

 Thus, there remains a genuine issue of material fact as to whether Plaintiff agreed to arbitrate,

 such that Defendants’ Motion to Compel Arbitration must be denied. See Jin v. Parsons Corp.,

 366 F. Supp. 3d 104, 109 (D.D.C. 2019);

           II. THE ARBITRATION AGREEMENT, EVEN IF AUTHENTIC, IS
        UNENFORCEABLE FOR NUMEROUS UNCONSCIONABILITY REASONS

         The Supreme Court has held that the saving clause of the FAA, 9 U.S.C. § 2, “permits

 agreements to arbitrate to be invalidated by ‘generally applicable contract defenses, such as fraud,

 duress, or unconscionability,’” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011)

 (quoting Doctor's Assocs., Inc. v. Casarotto, 517 U.S. 681, 687 (1996)). Accordingly, under both

 federal and New York law, “a party may resist enforcement of an agreement to arbitrate on any

 basis that could provide a defense to or grounds for the revocation of any contract.” Matter of

 Arbitration Between Teleserve Systems, Inc. and MIC Telecommunications Corporation, 659

 N.Y.S.2d 659, 663 (N.Y.A.D. 4th Dept. 1997).

         Thus, an arbitration agreement is not enforceable when it is unconscionable. See Gillman

 v. Chase Manhattan Bank, 73 N.Y.2d 1, 10 (1988). An arbitration agreement is unconscionable

 where there is "an absence of meaningful choice on the part of one of the parties together with



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 contract terms which are unreasonably favorable to the other party." Id. Under New York law,

 unconscionability generally requires both procedural and substantive elements. Id. In

 determining whether a contract is unconscionable, a court typically takes a "flexible" approach,

 wherein they carefully review "all the facts and circumstances of a particular case." Id.

                   A. This Entire Agreement is Substantively Unconscionable

         An arbitration agreement is substantively unconscionable when its terms are

 unreasonably favorable to the party against whom unconscionability is claimed; here,

 Defendants. See Desiderio v. National Association of Securities Dealers, Inc., 191 F.2d 198, 207

 (3rd Cir. 1991) Brennan v. Bally Total Fitness, 198 F.Supp.2d 377, 382 (S.D.N.Y. 2002).

 “Substantive elements of unconscionability appear in the context of the contract." Matter of

 Friedman, 407 N.Y.S.2d 999, 1008 (N.Y.A.D. 1978).

         The United States Supreme Court has well established that, although statutory claims are

 subject to an arbitration agreement, "[b]y agreeing to arbitrate a statutory claim, a party does not

 forgo the substantive rights afforded by the statute; it only submits to their resolution in an arbitral,

 rather than a judicial, forum." Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 26 (1991),

 quoting Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 628 (1985).

         Contrary to the Supreme Court's admonishment in Gilmer, the Arbitration Agreement

 Defendants seek to impose in this matter sets forth numerous unconscionable provisions that most

 definitely force Ms. Castillo to "forgo the substantive rights afforded by the statutes" that she is

 suing under, i.e. Title VII, the NYHRL, and the NYCHRL.

                1. Shortening of Arbitral Forum Statute of Limitation to Six Months

         The Arbitration Agreement impermissibly vitiates Ms. Castillo's statutory rights by

 shortening her statute of limitations to only six (6) months. (See Exhibit 5.) There is no dispute




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 that the limitations periods for filing a Charge of Discrimination under Title VII in New York is

 300 days. 42 U.S.C. 2000e-5(e)(1). The statute of limitation of a claim under the New York State

 Human Rights Law is one (1) year. NY Executive Law, § 297(5). The statute of limitations under

 the New York City Human Rights Law is three (3) years. NYC Code, § 8-502(d). The substantive

 rights afforded by these statutes of limitations are completely abrogated by the Arbitration

 Agreement, which states:

                I agree to file any dispute or claim for loss, damages or liability for

                arbitration within six (6) months from the date of the event that

                resulted in the loss, injury, damage or liability or the shortest

                duration permitted under applicable law and without regard to any

                other limitations period set forth by law or statute.

                                                                Exhibit 5, P 3, ¶ 5.

 Based on this provision, even though it is undisputed that Ms. Castillo has complied with all the

 statute of limitations periods applicable under Title VII, the NYSHRL, and the NYCHRL, an

 arbitrator would nevertheless be required to obey the express language of the Agreement and

 would have to dismiss Ms. Castillo's statutory causes of action in their entirety. In short, in

 seeking to compel the Arbitration of Ms. Castillo's claims, Defendants are in reality seeking the

 dismissal of these claims. This is the height of overreaching, oppressiveness, and

 unconscionability.

        The over-shortened limitation period in this Agreement plainly runs afoul of Supreme

 Court precedent, which requires that "By agreeing to arbitrate a statutory claim, a party does not

 forgo the substantive rights afforded [to them] by the statute; [the only difference is that the party

 will be exercising those rights to reach a] resolution in an arbitral, rather than a judicial, forum."




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 Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 26 (1991). In the present case, by sending

 Ms. Castillo's claims to an arbitral forum, as opposed to allowing them to remain in court, Ms.

 Castillo will be forced to “forgo" the right to even assert her statutory claims, as they will be

 dismissed as untimely under the Agreement's six-month limitations period.

        Courts that have faced similar arbitration provisions shortening the applicable statute of

 limitations have not hesitated to find them unconscionable and unenforceable. See Parilla v. IAP

 Worldwide Services VI, Inc., 368 F.3d 269 (3rd Cir. 2004) (finding a 30-day notice provision in an

 employment arbitration agreement is unconscionable); Ingle v. Circuit City Stores, Inc., 328 F.3d

 1165, 1175 (9th Cir. 2003) (ruling the shortened one year limitation period unconscionable and

 unenforceable); Circuit City Stores, Inc., v. Adams, 279 F.3d 889, 894 (9th Cir.) cert. den. 535

 U.S. 112 (2002) (throwing out the shortened one-year statute of limitations as unenforceable);

 Plaskett v. Bechtel International, Inc., 243 F.Supp.2d 334, 341 (D. Vi. 2003) (holding that an

 agreement’s requirement that the employee notify the employer "within thirty days of the event

 forming the basis of the claims" is unreasonable); Lucey v. FedEx Ground Package Systems, Inc.,

 2007 WL 3052997, *7 (D.N.J. 2007) (voiding an arbitration agreement with a shortened 90-day

 statute of limitation as unconscionable and unenforceable).

        Moreover, when a statute of limitations period is so strictly reduced in an arbitration

 agreement, as is the case here, the restriction is almost always wholly one-sided. See, e.g., Plaskett,

 243 F.Supp.2d at 341. And this is precisely the case here. Defendants do not have to abide by any

 shortened time period to assert any claims that they may have against Ms. Castillo. See Exhibit 5.

 This further adds to the substantive unconscionability and unlawful oppressiveness of this

 Agreement. See Alexander, 341 F.3d at 267 (Finding that where a defendant Employer imposed a

 one-sided time restriction on the Plaintiff, the difference in bargaining power between the two




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 parties made the agreement substantively unconscionable because it gave the Employer “such an

 unfair advantage.”)

         Furthermore, the Defendants’ Agreement appears to be aimed not only at deterring and

 abrogating Ms. Castillo's statutory rights in the arbitral forum but incredibly, it purports to do so

 in court as well. The Agreement’s six-month statute of limitation for bringing her discrimination

 and retaliation claims in court is also unlawful, as it is effectively impossible for a plaintiff to file

 a Title VII claims in court within six months. Title VII requires a plaintiff to go through an

 investigation with the Equal Employment Opportunity Commission (“EEOC”) before she has the

 right to file a civil suit in district court under Title VII. 42 U.S.C. 2000e-5(e) and (f), and that

 process can take up two 180 days – twice as many days as Defendants bind Plaintiff to in their

 Agreement!. By implementing this administratively impossible statute of limitations, Defendants

 have crafted this Agreement in such a way as to nullify their employees’ Title VII rights and ability

 to pursue a Title VII claim in court. This is not only unconscionable and oppressive but borderline

 malicious.

                             2. The One-Sided Grant of Injunctive Relief

         The Arbitration Agreement provides:

                 The Agreement shall explicitly exclude the requirement to arbitrate

                 any claims by the Employer for injunctive relief, which may be

                 brought in a court of competent jurisdiction.

                                                                 Exhibit 5, P 3, ¶ 3.

 Fair arbitration agreements are mutual. However, here, Defendants are trying to hold Plaintiff to

 terms. In Trivedi v. Curexo Technology Corp., the court held an Arbitration Agreement was

 unenforceable for a provision allowing the employer to go to court to seek an injunction to stop an




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 employee from disclosing intellectual property. See 189 Cal. App. 4th 387 (1st Dist. 2016). The

 court assessed how the fact that injunctions are the most common actions employers can take

 against an employee and thus styles the agreement as wholly non-mutual. See id.

        The same is true here. The above-cited provision in this Arbitration Agreement can alone

 render this entire Agreement unconscionable because it fundamentally alters Ms. Castillo's

 statutory rights and common law rights, and it requires her to take on an untenable and undue

 financial burden that she would not be exposed to in a court of law.

                           3. Arbitrator's Decision is "Non-Appealable."

        The Agreement produced by Defendants is also unconscionable and unenforceable because

 it expressly provides that there is no recourse to court review of the arbitration proceedings. The

 Agreement states:

                Except as provided by this Agreement, arbitration shall be the sole,

                exclusive, and final remedy for any dispute between the Employer

                and me.                         Exhibit 5, P 3, ¶ 4 (emphasis added)

 This provision expressly and purposefully thwarts any judicial review of the arbitration proceeding

 as unconscionable as a matter of law.

        It is well established that “Plaintiffs may arbitrate Title VII claims only in an arbitral forum

 that meets [certain] requirements to ensure that the arbitration will not subvert the Title VII

 statutory scheme. First, arbitration must meet certain standards of procedural fairness." Martens

 v. Smith Barney, Inc., 181 F.R.D. 243, 255 (S.D.N.Y 1998). In Martens, the court cited to Cole v.

 Burns Int'l Sec. Servs., making clear that "procedural fairness" and a "meaningful review for Title

 VII claims” go hand in hand. Martens, 181 F.R.D. at 255 (quoting Cole, 105 F.3d 1465, 1468-69

 (D.C. Cir. 1997)). The Court in Cole also points out that the “nearly unlimited deference paid to




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 arbitration awards” is not well-suited in the context of employees' statutory claims. Cole, 103 F.3d

 at 1467. Ultimately, the Supreme Court has agreed, holding arbitration awards to rigorous judicial

 review, sufficient to ensure compliance with statutory law. See id. at 1469; see also,

 Shearson/American Express, Inc. v. McMahon, 482 U.S. 220, 232 (1987) (Finding judicial review

 to be crucially important in employment cases to ensure that arbitrators comply with the

 requirements of the statutes.)

          Defendants’ attempt to preclude review of an arbitral proceeding is contrary to the explicit

 statutory requirements and protections of the Federal Arbitration Act. The FAA explicitly states

 that an arbitration award will be vacated by a district court if (1) the award is “procured by

 corruption, fraud, or undue means; (2) where there was evident partiality or corruption in the

 arbitrators or either of them; (3) where the arbitrators were guilty of misconduct . . . or (4) where

 the arbitrators exceeded their powers or so imperfectly executed them that a mutual, final, and

 definite award upon the subject matter submitted was not made.” 9 U.S.C. § 10. Additionally,

 thanks to case law, the arbitrator's decision may also be vacated if the decision was “in manifest

 disregard of the law.” Westerbeke Corp. v. Daihatsu Motor Co., Ltd., 304 F.3d 200, 208 (2nd Cir.

 2002).

          Here, the Agreement that Defendant seeks to impose does exactly what it must not – it

 denies Ms. Castillo each of the protections afforded to her by the very Act the Agreement purports

 to uphold! 9 U.S.C. § 10.

          Furthermore, the provision of the Arbitration Agreement stating that an arbitration ruling

 is “final” is directly contrary to New York law, which the Agreement explicitly invokes. The

 Agreement provides that "the Agreement shall be construed and enforced in accordance with the

 laws of the State of New York, without regard to principles of conflict of law." Exhibit 5. As




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 explained in the Practice Commentaries to CPLR 7501, this language is sufficient to bring the

 Arbitration Agreement within the "framework" of the New York CPLR:

                "As discussed in the main volume at pages 311-15, the parties

                themselves may reject the applicability of the FAA, even if the

                contract affects interstate commerce, if they include a sufficiently

                explicit choice-of-law clause…In order to bring the framework of

                the CPLR into play, the parties would need to include a statement to

                the effect that both the agreement "and its enforcement" are to be

                governed by New York law. 4 N.Y.3d at 253, 793 N.Y.S.2d at 835."

                NY CPLR 7501 (Practice Commentaries for 2005, C7501: Interface

                with the Federal Arbitration Act).

        Under New York law, it is well established that "arbitration decisions, whether arising from

 mandatory or consensual arbitration proceedings, are subject to limited judicial review pursuant to

 CPLR article 75, to comport with constitutional requirements of due process" Unigard Mut. Ins.

 Co. v. Hartford Ins. Group, 485 N.Y.S.2d 805, 807 (N.Y.A.D. 2 Dept.,1985) (emphasis added).

 Under New York law, an arbitration ruling will be vacated by a reviewing court if it is "totally

 irrational." Kaplan v. Werlin, 626 N.Y.S.2d 815, 817 (N.Y.A.D. 2 Dept. 1995). Basically, whether

 interpreting under the FAA or New York law, Defendants’ “Arbitration Agreement” was written

 to purposefully deny Ms. Castillo her statutory and constitutional rights

        In sum, apart from an arbitral forum, the Arbitration Agreement (1) seeks to make it

 impossible for Ms. Castillo to even assert a Title VII claims in federal court by an administratively

 impossible statute of limitations, and (2) seeks to deny Ms. Castillo the right in court to have

 sufficient discovery to establish her claim. Once again, at every turn, the Arbitration Agreement




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 seeks to disadvantage and prejudice Ms. Castillo in the exercise of her statutory rights, thus

 revealing (and constituting) its overarching oppressiveness and unconscionability.

                   B. This Entire Agreement is Procedurally Unconscionable

        In light of the numerous substantively unconscionable provisions in the Arbitration

 Agreement discussed above, there remains additional and sufficient evidence of procedural

 unconscionability in the formation of the agreement for the court to find and determine the entire

 agreement as unenforceable.

        The test for procedural inadequacy in forming a contract is whether, in light of all the facts

 and circumstances, a party lacked "a meaningful choice" in deciding whether to sign the contract.

 Brennan v. Bally Total Fitness, 198 F.Supp.2d 377, 382 (S.D.N.Y. 2002).

        Although both substantive and procedural unconscionability should be present for the court

 to refuse to enforce an arbitration agreement, "they need not be present in the same degree."

 Armendariz v. Foundation Health Psychcare Services, Inc., 24 Call.4th 83, 114 (2000).

 "Essentially, a sliding scale is invoked which disregards the regularity of the procedural process

 of the contract formation, that creates the terms, in proportion to the greater harshness or

 unreasonableness of the substantive terms themselves." Id. "In other words, the more substantively

 oppressive the contract term, the less evidence of procedural unconscionability is required to

 conclude that the terms are unenforceable and vice versa. Id. See also State v. Wolowitz, 468

 N.Y.S.2d 131 (N.Y.A.D. 2 Dept. 1983) ("it can be said that procedural and substantive

 unconscionability operates on a "sliding scale"; the more questionable the meaningfulness of

 choice, the less imbalance in a contract's terms should be tolerated and vice versa").

        In this case, the evidence of a lack of "meaningful choice" on Ms. Castillo's part is more

 than adequate to tip the sliding scale of unconscionability to non-enforceability. This was not a




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 commercial contract between two sophisticated parties acting or negotiating at arms-length. There

 is no dispute that Ms. Castillo was in a grossly unequal position to Defendant with respect to

 education and experience. Ms. Castillo does not have a college degree and has no experience or

 background in human resources.

        There is no dispute that Ms. Castillo was not represented by counsel during the meeting

 she attended on December 9, 2019, wherein Defendants allege she was given this forged

 Agreement. There is no dispute that no representative from Defendants at any time told Ms.

 Castillo that she should have the Agreement reviewed by counsel. Indeed, it is undisputed that Ms.

 Castillo was not given the opportunity to have the document reviewed by an attorney, nor did she

 even have the opportunity to take it home or review it at her convenience.

        No, Ms. Castillo was simply given various documents during that meeting on December

 9, 2019, informed she was being given a new pay plan and asked to sign on a "take it or leave it"

 basis. Defendants did not afford Ms. Castillo the time and opportunity to take any documents home

 to review them before signing. Defendants did not afford Ms. Castillo any opportunity to negotiate

 or even discuss anything that she signed. This is a procedurally unconscionable way to provide an

 employee with any sort of contract, whether that be a pay plan, an employment contract, or an

 arbitration agreement. See Brennan v. Bally Total Fitness, 198 F.Supp.2d 377, 382-84 (S.D.N.Y.

 2002) (Finding procedural unconscionability where (1) there was disparity in bargaining power

 between employer and employees, (2) manager failed to given employee adequate time to review

 the contract, and (3) manager failed to inform the employee that she could review the document

 with an attorney, (4) manager conceded that those who did not sign document would not be

 promoted).




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     III. LAW & EQUITY REQUIRE THE COURT TO STRIKE THIS AGREEMENT
                         DOWN AS UNENFORCEABLE

        The unconscionability of Plaintiff’s alleged Arbitration Agreement is irredeemable, and it

 cannot be severed. But what’s more, this Agreement was forged. It was created by Defendants in

 bad faith as a part of an unlawful, devious plot to defraud Plaintiff, counsel, and the Court. This

 Agreement is permeated with unlawful purposes, contains numerous unconscionable and

 oppressive terms, and is inherently poisoned by fraud and unconscionability.

        Accordingly, this Court should find this whole “Arbitration Agreement” to be null and void

 and strike it down as unenforceable. Additionally, if this Court, upon a further inquiry into this

 Agreement, finds that Defendants’ purported Arbitration Agreement is in fact forged, as Plaintiff

 alleges, Plaintiff hereby respectfully requests attorney’s fees and sanctions pursuant to Fed. R. Civ.

 Pro. § 11, 26, and 54, as well as any such remedies as the Court may deem proper.

                                           CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests that Defendants’ Motion to

 Dismiss and Compel Arbitration be denied.


 Dated: Forest Hills, New York                                 Respectfully submitted,
 February 8, 2021

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